                      Case 1:24-mj-00285-GMH Document 1 Filed 09/09/24 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                           District of &ROXPELD

                  United States of America                          )
                             v.                                     )
Blake Patterson, (DOB: XXXXXXXXX)                                   )      Case No.
Ryan Holden, (DOB: XXXXXXXX)                                        )
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    January 6, 2021              in the county of                              in the
                         LQ WKH 'LVWULFW RI       &ROXPELD      , the defendant(s) violated:

            Code Section                                                     Offense Description

            18 U.S.C. §§ 1752(a)(1) (Entering or remaining in restricted buildings or grounds),
            18 U.S.C. §§ 1752(a)(2) (Disorderly and disruptive conduct in a restricted building or grounds),
            40 U.S.C. § 5104(e)(2)(D) (Disorderly conduct on Capitol Building and Grounds),
            40 U.S.C. § 5104(e)(2)(G) (Parading or demonstrating on Capitol Building and Grounds).


         This criminal complaint is based on these facts:
  6HH DWWDFKHG VWDWHPHQW RI IDFWV




         9
         u Continued on the attached sheet.


                                                                                               Complainant’s signature


                                                                                               Printed name and title
$WWHVWHG WR E\ WKH DSSOLFDQW LQ DFFRUGDQFH ZLWK WKH UHTXLUHPHQWV RI )HG 5 &ULP 3 
E\ WHOHSKRQH

Date:             09/09/2024
                                                                                                 Judge’s signature

City and state:                         :DVKLQJWRQ '&                          G. Michael Harvey, U.S. Magistrate Judge
                                                                                               Printed name and title
